       Case 1:15-cv-03336-CCB Document 1 Filed 11/02/15 Page 1 of 8



                UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF MARYLAND

RICKEY NELSON JONES                  *
3043 Shoreline Boulevard             *
Laurel, Maryland 20724               *
                                     *
      Plaintiff,                     *
                                     *
v.                                   * Civil Case No.:
                                     *
ADMINISTRATIVE OFFICE OF             *
   THE COURTS, MARYLAND              *
   JUDICIARY                         *
Serve On: Michele McDonald           *
             Asst. Attorney General *
             Chief Counsel, Courts   *
             & Judicial Affairs Div. *
             Office of the Attorney  *
                 General             *
             200 St. Paul Place,     *
                   th
                 20 Floor            *
             Baltimore, MD 21202     *
                                     *
      Defendant.                     *
**********************************************

                                  COMPLAINT
                      Discrimination: 42 U.S.C. Section 2000e

JURISDICTION


       1. The Court has jurisdiction over this action pursuant to 28 U.S.C. 1331.

PARTIES

       2. Plaintiff, Rickey Nelson Jones, is a United States citizen who is a licensed

attorney in the State of Maryland, practicing both state and federal law over a period

in excess of two decades.
        Case 1:15-cv-03336-CCB Document 1 Filed 11/02/15 Page 2 of 8



       3. Defendant is the Administrative Office of the Courts of the Maryland

Judiciary, responsible for overseeing the state’s process of lawfully selecting judicial

applicants for recommendation to the Governor for vacancies on the bench.

PROCEDURE

       4. In 2014, Plaintiff was interviewed several times for judicial vacancies in the

State of Maryland and not recommended to the Governor, with the last occurring in

December 2014.

       5. A formal United States Equal Employment Opportunity Commission

(“EEOC”) Complaint was filed in January 2015 against the Administrative Office of

the Courts on the basis of race discrimination.

       6. In May 2015, the EEOC transferred the formal complaint to the Maryland

Commission of Civil Rights (“MCCR”) for the purpose of investigating the charges.

       7. On June 15, 2015 (one month later), MCCR administratively closed

Plaintiff’s Complaint without [i] requesting or securing an interview with Plaintiff, [ii]

requesting or securing documentation from Plaintiff, or [iii] requesting or securing

oral or documentary information from witnesses referenced in the Complaint.

       8. On June 19, 2015, Plaintiff formally notified EEOC of MCCR’s failure to

investigate his Complaint as directed by EEOC’s May 5, 2015 letter.

       9. On August 8, 2015, Plaintiff received formal notice from EEOC closing its

file, dismissing the Complaint, and issuing Notice of Rights.
        Case 1:15-cv-03336-CCB Document 1 Filed 11/02/15 Page 3 of 8



FACTS

       10. On December 8, 2014, Plaintiff sat for an interview before the Trial Courts

Judicial Nominating Commission for Commission District 7. The Commission

operates in the Administrative Office of the Courts under the Maryland Judiciary

Branch of Government.

       11. There were two vacancies on the Anne Arundel County Circuit Court.

       12. The Anne Arundel County Circuit Court has no African-American Judges

presently on the bench, has not had any in the last decade, and has only had two in its

365-year history of existence.

       13. There is an African-American population in Anne Arundel County of 16%,

an Asian-American population of 4%, and a Hispanic-American population of 7%.

Over one fourth of the Anne Arundel County Population is minority and support the

court system but are not represented thereon accordingly.

       14. During Plaintiff’s interview on December 8, 2014, he noticed that an

African-American Commission Member was not present (who he had seen in his

previous interview earlier in the year).

       15. Since judicial applicants are recommended to the Governor based on

number of votes from the Commission Members, the absence concerned Plaintiff.

       16. Plaintiff later learned that the African-American Commission Member was

“removed” from the panel due to her familiarity with one of the African-American

Applicants. However, that applicant was not the Plaintiff.
        Case 1:15-cv-03336-CCB Document 1 Filed 11/02/15 Page 4 of 8



       17. The removal inequitably eliminated a potentially determinative vote from

Plaintiff along racial lines, and regardless of voting, it was unlawfully exclusionary

based on the race of Plaintiff and the excluded Commission member. Such exclusion

constituted a limitation on Plaintiff as an applicant for employment, tending to deprive

him of an employment opportunity.

       18. The Administrative Office of the Courts provides administrative services

for the Maryland Judiciary. Since the judicial power of the State of Maryland is

vested in the Court of Appeals and such other courts (appellate, circuit, district, etc.)

created by the General Assembly, the policy of the State governs and “assures all

persons equal opportunities in receiving employment…regardless of race.” Maryland

Annotated Code, State Government Article, Section 20-602. Moreover, the

Constitution of Maryland, Declaration of Rights, Article 44, subjects the State to the

Constitution of the United States.

       19. After being notified of non-recommendation to the Governor, Plaintiff was

contacted by other African-American Applicants who possessed over 20 years of legal

experience (like him) and informed of their non-selection. They also had grave

concerns about the process since they had been excluded multiple times from

recommendation to the Governor also.

       20. Plaintiff’s law office commenced an investigation and discovered shocking

details about the Caucasians recommended to, and selected by, the Governor for the

judicial vacancies.
             Case 1:15-cv-03336-CCB Document 1 Filed 11/02/15 Page 5 of 8



            21. The first appointee1 was a House of Delegates member at the time of

selection and only had about 2 years of experience in private legal practice and 18

years under the guidance of others in a law firm. The second2 had 12 years of

experience under the guidance of others in Baltimore City State’s Attorney’s office

and a law firm, and approximately two decades in private legal practice confined to

personal and business services.

            22. Plaintiff’s varied legal experience is the distinguishing factor from the

appointees that makes his exclusion by a Commission that made race a factor

unjustifiable and unlawful. For over two decades Plaintiff has practiced civil law,

criminal law, administrative law, and appellate law in his own multi-state law office;

he has represented people in both state and federal court; he has represented people in

states other than Maryland (e.g., New York, New Jersey, Ohio, Louisiana, etc.); he

has done administrative federal law (Civil Rights and Immigration); he has been

published multiple times by multiple bar associations; he has served as both an

organizer of CLEs and a panelist for CLEs; he has tried cases before both juries and

judges in federal and state court, and he is licensed in eight different courts, including

the United States Supreme Court. Finally, Plaintiff is a Pastor of a church and has

served the public extensively by organizing and participating in efforts to support the

homeless and meet the needs of the less fortunate.

            23. When race “entered” the Commission’s thinking, subjectivity dominated

and led to them unlawfully limiting Plaintiff and his rich and varied legal experience


1	  Ms.	  Cathy	  Vitale	  
            Case 1:15-cv-03336-CCB Document 1 Filed 11/02/15 Page 6 of 8



in order to select Caucasians without such. Hence, the candidate pool submitted to the

Governor became tainted, and the candidates from which the Governor selected failed

to satisfy the “Revised Administrative Order” of Judge Mary Ellen Barbera (Chief

Judge of the Court of Appeals of Maryland) to nominate the individuals “legally and

most fully professionally qualified.” (Section 5[e] of Order)

           24. The discriminatory impact here rests in the fact that Plaintiff is another of

many African-American/minority Candidates unlawfully excluded from the circuit

court in Anne Arundel County, resulting in a 365-year success rate of exclusion “not

far from” 100%.

           WHEREFORE, Plaintiff respectfully requests that

[A]        the process undertaken by the 2014 Trial Courts Judicial Nominating

           Commission for Commission District 7, on behalf of the State of Maryland, be

           deemed discriminatory,

[B]        the recommendations submitted to the Governor for the judicial vacancies in

           late 2014 be deemed invalid,

[C]        the appointments made by the Governor based on those recommendations be

           invalidated,

[D]        the exclusion of Plaintiff as a recommended applicant to the Governor be

           reversed,

[E]         the Trial Court Judicial Nominating Commission for Commission District 7 be




2	  Mr.	  Glenn	  Klavans	  
            Case 1:15-cv-03336-CCB Document 1 Filed 11/02/15 Page 7 of 8



          {i} revamped/changed to reflect the county’s diversity for which is operates,

          {ii} prohibited from excluding members on the basis of race unjustifiably, {iii}

          required to consider diversity of legal experience as a key factor, {iv} required

          to document the weight given to each factor considered in evaluating

          applicants, {v} mandated to make the basis for its decision(s) public

          information, and {vi} mandated to submit to judicial and public oversight of

          the entire process of evaluating candidates and its results (i.e., an oversight

          panel of judicial and public members representative of the county[ies] for

          which it serves), and

[F]       Plaintiff be compensated in the amount of $154,000.00,3 and

[G]       such other and further relief as the court deems proper.

          I solemnly affirm under the penalty of perjury that the contents of the foregoing

Complaint are true to the best of my knowledge, information, and belief.

                                                                             /s/ Rickey Nelson Jones
                                                                            Rickey Nelson Jones


                                                                            Respectfully submitted,
                                                                               /s/ Rickey Nelson Jones
                                                                            Rickey Nelson Jones
                                                                            Law Offices of Reverend Rickey
                                                                                   Nelson Jones, Esquire
                                                                            3rd Floor – Suite 5
                                                                            1701 Madison Avenue

3	  After	  Plaintiff	  contacted	  his	  representatives	  in	  the	  MD	  House	  of	  Delegates,	  the	  U.S.	  

House	  of	  Representatives,	  and	  the	  U.S.	  Senate,	  grave	  concerns	  were	  expressed.	  	  After	  
Governor	  O’Malley	  was	  contacted	  by	  a	  concerned	  representative,	  he	  forwarded	  a	  letter	  
dated	  12/20/14	  expressing	  his	  record,	  desire,	  and	  preference	  for	  diversity	  on	  the	  bench	  
in	  Maryland,	  reflecting	  the	  strong	  likelihood	  of	  Plaintiff	  being	  selected	  IF	  he	  had	  been	  
recommended	  by	  the	  Commission.	  	  	  The	  salary	  for	  the	  position	  is	  about	  $154,000.	  	  	  	  
Case 1:15-cv-03336-CCB Document 1 Filed 11/02/15 Page 8 of 8



                                  Baltimore, Maryland 21217
                                  410-462-5800
                                  Bar #: 12088

                                  Attorney for Plaintiff
